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AO 85A (Rev. 02/17) Notice, Consent, and Reference ofa Dispositive Motion to a Magistrate Judge

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

Tamara R. Hatcher
Plaintiff

 

V. Civil Action No. 8:22-cv-2202-CEM-EJK
Sojourn Ventures, LLC, et al.

 

Defendants
NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

Consent to a magistrate judge's consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below

(identify each motion by document number and title).

Motions: (Doc. 28) Joint Motion for Approval of Settlement, Dismissal with Prejudiqgy

 

and Incorporated Memorandum of Law

 

 

Printed names of parties and attorneys Signatures of parties or attorneys Dates

PLAINTIFF: Tamara R. Hatcher c/o Law /s/ Zandro Palma, Esquire 05/17/2023
Offices of Zandro E. Palma, P.A.

DEFENDANTS: Sojourn Ventures, LLC, etal. —/s/ Alyssa Castelli, Esquire 05/17/2023
clo Spire Law, PLLC s

Reference Order

 
 
 
 
 

IT IS ORDERED: The motions are referred to a United St
enter a final order on the motions identified above in accordance/'

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DisiFict Judge 's signature

Carlos E. Mendoza

 

 

Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.

 
